
The Supreme Court affirmed the decree .of the Common Pleas on October 5th, 1885 in the following opinion :
Per Curiam.
The rule in this case was to show cause why the judgment ■should not he opened. The only fact proved to justify the opening of the judgment was the illegal interest charged in the note; Beaty vs. Bordwell, 10 Norris 438. That interest has been deducted and the appellants fully discharged therefrom. If all the other alleged equities did exist they are not to be asserted by ■opening the judgment. No motion was made to strike off' the *493judgment. If it had been the evidence is insufficient to justify such action. The other alleged claims are not the subject of set off against the judgment.
Decree affirmed and appeal dismissed at the costs of the appellants.
